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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

MARY TOTH, On Behalf of Herself and All              §
Others Similarly Situated,                           §
                                                     §        Civil Action No. 4:18-cv-0706
                       Plaintiff,                    §
                                                     §
v.                                                   §
                                                     §
ZOE’S KITCHEN, INC., GREG                            §
DOLLARHYDE, THOMAS BALDWIN, SUE                      §
COLLINS, CORDIA HARRINGTON, KEVIN                    §
MILES, and ALEC TAYLOR,                              §
                                                     §
                       Defendants.                   §


                           NOTICE OF VOLUNTARY DISMISSAL


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiff Mary Toth (“Plaintiff”)

hereby gives notice (“Notice”) that the above-captioned action (“Action”) is voluntarily

dismissed with prejudice as to Plaintiff, but without prejudice as to all other members of the

putative class in the Action.

       Defendants have neither served an answer nor moved for summary judgment. As such,

Plaintiff’s dismissal of the Action is effective upon filing of this Notice.

       DATED: November 15, 2018.

                                               Respectfully submitted,



                                                      /s/ Thomas E. Bilek
                                               Thomas E. Bilek
                                               TX Bar No. 02313525
                                               THE BILEK LAW FIRM, L.L.P.
                                               700 Louisiana, Suite 3950
                                               Houston, TX 77002
                                               (713) 227-7720
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                                             tbilek@bileklaw.com

                                             Attorneys for Plaintiff

OF COUNSEL:

Evan J. Smith
Marc L. Ackerman
BRODSKY & SMITH, LLC
Two Bala Plaza, Suite 510
Bala Cynwyd, PA 19004
Telephone: 610.667.6200
esmith@brodskysmith.com
mackerman@brodskysmith.com




                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was filed via this District’s CM/ECF
on November 15, 2018, which caused an electronic copy of same to be served automatically
upon all counsel of record.

                                                    /s/ Thomas E. Bilek
                                                 Thomas E. Bilek




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